       Case: 3:18-cr-50038 Document #: 105 Filed: 06/30/20 Page 1 of 4 PageID #:306




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION

United States of America,                             )
                                                      )
                  Plaintiff,                          )
                                                      )    Case Nos. 18 CR 50034-1
                                                      )              18 CR 50037-1
                                                      )              18 CR 50038-1
                                                      )              18 CR 50039-1
          v.                                          )
                                                      )    Magistrate Judge Lisa A. Jensen
Tyjuan Anderson,                                      )
                                                      )
                  Defendant.                          )

                               MEMORANUM OPINION AND ORDER

       Defendant’s motion to modify the conditions of his pretrial release [254] [93] [99] [100] is
denied without prejudice to Defendant proposing a suitable residence and third-party custodian.

                                               STATEMENT

        In July 2018, Defendant was indicted in four separate cases for multiple drug-trafficking
conspiracies involving the possession and distribution of heroin and cocaine in the Rockford,
Illinois area in violation of 21 U.S.C. §§ 841(a)(1), 846. Following Defendant’s arrest, the
Government moved for detention.

        After detention hearings on July 19 and July 20, 2018, Magistrate Judge Iain D. Johnston1
found that Defendant rebutted the presumption of detention set out in 18 U.S.C. § 3142(e)(3)(A)
and released Defendant pending trial subject to numerous conditions, including third-party
custodianship with Defendant’s sister and living in his sister’s home on home incarceration with
location monitoring. Defendant was only allowed to leave to leave the home to attend court, meet
with his attorney, and to visit his children. In March 2019, Judge Johnston modified Defendant’s
conditions of release to allow him three hours each week to search for a job. However, Defendant
was required to seek leave a court before accepting any employment.

       In April 2019, Defendant filed a motion to modify the conditions of his release to allow
him to work full-time as a machine operator in South Beloit, Illinois. The Government objected,
noting that home incarceration was necessary to maintain the safety of the community because
without this restriction Defendant would be able to resume his drug-trafficking operation.
Following a hearing, this Court denied Defendant’s motion and found that allowing Defendant to
work outside of the home for 12-13 hours a day would not reasonably assure the safety of the
community based on the presumption for the instant controlled substances offenses under 18
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    These cases were not referred to the undersigned until April 12, 2019.

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    Case: 3:18-cr-50038 Document #: 105 Filed: 06/30/20 Page 2 of 4 PageID #:307




U.S.C. § 3142(e)(3)(A), the strength of the evidence that the Government presented against
Defendant, and based on Defendant reportedly working at a time he was engaged in illegal activity.

        On June 15, 2020, Defendant filed the instant motion to modify the conditions of his
pretrial release. Dkts. 254, 93, 99, 100. Defendant asks that he be allowed to obtain his own
residence and seek employment. In seeking his own residence, it is unclear from the motion if
Defendant is also seeking to remove the requirement for a third-party custodian.

        The Government has responded and objects to Defendant’s requests to work and remove
the requirement for a third-party custodian for the same reasons that were outlined in Defendant’s
motion in April 2019. The Government takes no position on Defendant’s request to move
residences or find a new third-party custodian, explaining that Defendant has not provided enough
information.

         The Bail Report Act requires the release of a person facing trial under “the least restrictive
[] condition, or combination of conditions, that such judicial officer determines will reasonably
assure the appearance of the person as required and the safety of any other person and the
community.” 18 U.S.C. § 3142(c)(1)(B). In determining whether there are conditions of release
that will reasonably assure Defendant’s future appearance and community safety, the Court is to
consider: (1) the nature and circumstances of the charged offense; (2) the weight of the evidence;
(3) the history and characteristics of the person, including his character, physical and mental
condition, family ties, employment, financial resources, length of residence in the community,
community ties, past conduct, history relating to drug or alcohol abuse, criminal history, and record
concerning appearance at court proceedings; and whether he was on probation, parole or release
at the time of the current offense or arrest; and (4) the nature and seriousness of the danger to any
person or the community that would be posed by the person’s release. 18 U.S.C. § 3142(g).

         “The judicial officer may at any time amend the order to impose additional or different
conditions of release.” 18 U.S.C. § 3142(c)(3). A detention hearing “may be reopened, before or
after a determination by the judicial officer, at any time before trial if the judicial officer finds that
information exists that was not known to the movant at the time of the hearing and that has a
material bearing on the issue whether there are conditions of release that will reasonably assure
the appearance of such person as required and the safety of any other person and the community.”
18 U.S.C. § 3142(f)(2)(B).

        In support of removing him from home confinement and allowing him to work and find
his own residence, Defendant points to a recent settlement award in his civil case and his
compliance with the terms of his pretrial release for the past two years to argue that he would not
pose a risk of flight or a danger to the community. Defendant’s motion, which provides few details,
can be summed up with the following paragraph:

        The simple facts are that this is an individual that was found eligible for release,
        albeit with strict conditions. He has complied with all of those conditions for nearly
        two years. He has demonstrated that he can follow the rules and conform his
        conduct to the law. If he ever was a flight risk, he certainly is no longer. It would



                                                    2
    Case: 3:18-cr-50038 Document #: 105 Filed: 06/30/20 Page 3 of 4 PageID #:308




        be appropriate to loosen the restrictions in order to enable him to obtain his own
        residence and to allow him to work.

Defendant’s Motion at 4, Dkts 254.

        Defendant additionally asserts that both he and his sister are unsafe in their current
residence because of the large settlement award he received. Although this Court is sympathetic
to any threat to their safety, Defendant offers no evaluation of the factors this Court considered
under 18 U.S.C. § 3142(g). See United States v. Calvert, No. 19-40068-03-HLT, 2020 WL
1847754, at *2 (D. Kan. Apr. 13, 2020) (“[T]he risk of harm to the defendant does not usually bear
on whether the court can fashion conditions of release that will reasonably assure that the defendant
is not a risk of nonappearance or a risk of harm to any others or the community.”) (emphasis in
original). Defendant claims that the “settlement should provide all of the assurance this Court
needs to satisfy any concerns regarding Tyjuan’s risk of flight or danger to the community.”
Defendant’s Motion at 2, Dkts. 254, 93, 99, 100. However, Defendant does not explain how the
receipt of a significant financial settlement has any material bearing on the issues of detention,
other than to show that he has a means to obtain his own apartment.

        As this Court previously found, the Government’s evidence is strong. The Government
presented evidence indicating that over twelve controlled purchases of crack cocaine and heroin
were conducted through confidential informants either from Defendant or his co-conspirators.
Additionally, the nature and circumstances of these multiple drug trafficking offenses are very
serious and although rebuttable, the Court must still consider the presumption that no condition or
combination of conditions will reasonably assure the safety of the community.2 See 18 U.S.C. §
3142(e)(3)(A). This is further supported by the evidence the Government offered that Defendant
was armed while conducting some of the drug transactions.

        This Court specifically noted its concern with Defendant allegedly engaging in drug
trafficking activity while reporting that he was working. The Government provided evidence that
during Defendant’s past employment as a personal aid to his uncle, he reported working while
agents conducted controlled purchases of crack cocaine from Defendant. The Government also
provided court records showing multiple instances where Defendant reported working as an aid at
times he was in court.

       This Court shares the Government’s concern that allowing Defendant more time away from
his home increases the risk that he will engage in drug trafficking. Although Pretrial Services is
recommending reducing Defendant to a curfew with location monitoring, Pretrial Services does
not consider the strength of the evidence or the rebuttable presumption when making its
recommendation. Furthermore, location monitoring has its limits. Location monitoring tells us
whether Defendant is outside of his home. It does not tell us what he is doing, and Pretrial Services
does not have the resources to verify Defendant’s whereabouts daily.


2
  “Even if the statutory presumption is rebutted, it must be considered along with all other relevant factors
set out in the Act to determine whether any condition or combination of conditions will reasonably assure
that the defendant’s pretrial release will not pose a danger to the community and assure his presence at
trial.” United States v. Caro, No. 05 CR 858, 2005 WL 8160735, at *1 (N.D. Ill. Nov. 2, 2005).

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    Case: 3:18-cr-50038 Document #: 105 Filed: 06/30/20 Page 4 of 4 PageID #:309




        Defendant does not address any of this Court’s concerns or otherwise present any new
evidence that changes the determination that home incarceration and third-party custodianship are
necessary to assure the safety of the community. Defendant compliance with his pretrial release
for the past two years, though commendable, does not alleviate this Court’s concern that Defendant
was previously undeterred from allegedly engaging in illegal activity while reportedly working.
As the Government points out, there is nothing indicating that Defendant’s compliance is not
merely the result of the conditions imposed preventing further criminal activity. See United States
v. Kube, No. 119CR00257NONESKO, 2020 WL 1984178, at *5 (E.D. Cal. Apr. 27, 2020) (“The
fact that Defendant has complied with his conditions of release is what allows him to remain out
of custody and is not new information that has a material bearing on his conditions to reopen the
detention hearing.”).

        Although this Court finds that home incarceration with a third-party custodian remains
necessary to assure the safety of the community, Defendant has offered some evidence indicating
that his current residence may no longer be suitable. Additionally, Defendant has reported to
Pretrial Services that his sister intends to move out of state. However, Defendant has not identified
a new residence or proposed a new third-party custodian. Until that occurs, this Court is unable to
determine the suitability of either.

        Accordingly, Defendant has not presented new information that has a material bearing on
whether the conditions of release will reasonably assure the safety of the community. Therefore,
Defendant’s motion to modify the conditions of his pretrial release is denied without prejudice.
However, should Defendant identify a suitable residence and if necessary, a new third-party
custodian, Defendant shall file a renewed motion to that effect. In light of the concerns Defendant
raised relating to his safety and the safety of his third-party custodian, in any renewed motion
brought by Defendant, he is granted leave to file the specific address and third-party information
as an exhibit under seal.



Date: June 30, 2020                           By:     ______________________
                                                      Lisa A. Jensen
                                                      United States Magistrate Judge




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